Case 3:10-cr-03617-BEN   Document 333   Filed 12/22/11   PageID.1899   Page 1 of 6
Case 3:10-cr-03617-BEN   Document 333   Filed 12/22/11   PageID.1900   Page 2 of 6
Case 3:10-cr-03617-BEN   Document 333   Filed 12/22/11   PageID.1901   Page 3 of 6
Case 3:10-cr-03617-BEN   Document 333   Filed 12/22/11   PageID.1902   Page 4 of 6
Case 3:10-cr-03617-BEN   Document 333   Filed 12/22/11   PageID.1903   Page 5 of 6
Case 3:10-cr-03617-BEN   Document 333   Filed 12/22/11   PageID.1904   Page 6 of 6
